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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GUY RESCHENTHALER, et al.,                  :   CIVIL ACTION NO. 1:24-CV-1671
                                            :
                    Plaintiffs              :   (Judge Conner)
                                            :
              v.                            :
                                            :
AL SCHMIDT, et al.,                         :
                                            :
                    Defendants              :

                                        ORDER

        AND NOW, this 4th day of October, 2024, upon consideration of the motion

(Doc. 3) for temporary restraining order and preliminary injunction filed on

October 1, 2024, by plaintiffs Congressmen Guy Reschenthaler, Dan Meuser, Glenn

Thompson, Lloyd Smucker, and Mike Kelly, and following a telephonic conference

with the parties on today’s date for scheduling purposes, it is hereby ORDERED

that:

        1.    A hearing on plaintiffs’ motion for temporary restraining order and
              preliminary injunction shall commence on Friday, October 18, 2024,
              at 11:00 a.m. in Courtroom #7A, Sylvia H. Rambo United States
              Courthouse, 1501 North 6th Street, Harrisburg, Pennsylvania, 17102.

        2.    The parties’ prehearing memoranda are due on or before Wednesday,
              October 16, 2024. Therein, the parties shall apprise the court whether
              they anticipate calling any witnesses or putting on additional evidence
              beyond the supporting affidavit and exhibits attached to plaintiffs’
              complaint and motion.

        3.    The parties shall meet and confer forthwith to jointly determine the
              proper scope of and timeline for exchanging prehearing discovery. If a
              discovery dispute arises and is not resolved after counsel attempt in
              good faith to do so, counsel shall file a letter to the docket requesting a
              telephonic discovery conference and outlining the nature of the
              dispute. Counsel shall not file a formal discovery motion unless
              directed to do so following the telephonic conference.
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4.   Plaintiffs may file an amended complaint on or before Monday,
     October 7, 2024.

5.   Plaintiffs’ response to the motion (Doc. 14) to intervene filed by
     proposed intervenors the Democratic National Committee and the
     Pennsylvania Democratic Party is due no later than Tuesday,
     October 8, 2024, at noon.

6.   Any motions to dismiss must be filed along with supporting briefs by
     Friday, October 11, 2024, at noon. Briefs in opposition are due
     Thursday, October 17, 2024, at noon.

7.   The parties shall provide notice of all filings to Clifford Levine,
     Esquire, counsel for proposed intervenors, pending resolution of the
     intervention motion. In the event the court grants proposed
     intervenors’ motion, proposed intervenors shall be prepared to comply
     with the foregoing briefing schedule.



                              /S/ CHRISTOPHER C. CONNER
                              Christopher C. Conner
                              United States District Judge
                              Middle District of Pennsylvania
